       Case 1:25-cv-00596-ELH           Document 80        Filed 04/01/25   Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



         DEFENDANTS’ REPLY IN SUPPORT OF NOTICE OF COMPLIANCE

       In its March 20, 2025 Order, the Court created a mechanism for SSA’s employees to regain

access to agency data, provided that SSA ensured there were no irregularities with respect to

employees’ paperwork, background investigations, and training. ECF No. 50. As demonstrated

in Defendants’ Notice of Compliance and accompanying declarations, SSA has now addressed the

Court’s concerns regarding onboarding and training. Moreover, SSA has provided significant

detail regarding the nature of its employees’ work and a thorough explanation of why four

members of the agency’s DOGE Team require access to specific types of data to implement the

agency’s priorities. Accordingly, SSA has now satisfied the criteria in paragraphs two and three

of the Court’s Order as to the projects identified in Defendants’ Notice.

       Plaintiffs disagree. But their response brief (ECF No. 77) only reveals their policy

preference that members of the SSA DOGE Team never obtain access to the agency’s data systems.

Plaintiffs’ proposed standard is unworkable and goes far beyond the requirements of the Privacy
       Case 1:25-cv-00596-ELH          Document 80        Filed 04/01/25     Page 2 of 5



Act. Plaintiffs’ arguments would work to prohibit all SSA employees—not just those working on

the President’s DOGE agenda—from ever performing programmatic-level reviews of agency data.

       Plaintiffs submit the declaration of Alex Doe, a former detailee to SSA from the former

U.S. Digital Service, to suggest that background checks must be fully adjudicated before an agency

employee may view PII. Yet, Mr. Doe does not claim to have performed work in Human Resources

or to possess agency-wide knowledge of routine access grants to agency employees. Id. By

contrast, Ms. Felix-Lawson, SSA’s Deputy Commissioner of Human Resources—who has direct

personal knowledge of SSA’s practices in issuing Personal Identity Verification Cards and PII data

access to newly onboarded employees—has testified under penalty of perjury that new SSA

employees routinely work on and are provided access to PII while the employees’ background

investigations are pending. ECF No. 62-2 ¶ 9.

       Plaintiffs also question Acting Commissioner Dudek’s representations that anonymization

is not feasible for the projects SSA wants to continue, relying the declaration of Ms. Ann Lewis.

Ms. Lewis—who has never worked at SSA—states that her former work at another agency and at

a private non-profit allow her to conclude that SSA’s Acting Commissioner’s statements about the

inability to anonymize data are inaccurate. ECF No. 77-2 ¶¶ 1-3. But Ms. Lewis’s statements are

mere speculation. As even Ms. Lewis appears to concede, she has no personal knowledge of SSA’s

capabilities. See, e.g., id. ¶ 8 (basing her conclusion on her “time at the General Services

Administration and conversations I have had with peers”). The Court should not credit Ms.

Lewis’s conjecture over the sworn statements of Acting Commissioner Dudek, who has direct

knowledge of the systems, data, and SSA fraud projects and who has already testified that

anonymization is not feasible for the projects at issue in Defendants’ Notice of Compliance. Lest




                                                2
       Case 1:25-cv-00596-ELH          Document 80       Filed 04/01/25      Page 3 of 5



there be any doubt, however, Mr. Dudek confirms in the declaration accompanying this filing that

anonymization is not a viable option. See Declaration of Leland Dudek (Exhibit A).

       At bottom, Acting Commissioner Dudek—the head of an Executive Branch agency—has

now provided three declarations and live testimony in this case explaining why specific employees

require access to specific data systems that the agency maintains to carry out specific SSA

priorities. In other words, he has explained why those employees “have a need for the record[s]

in the performance of their duties.”      5 U.S.C. § 552a(b)(1).       Plaintiffs flyspeck Acting

Commissioner Dudek’s explanation and speculate that there may be other ways to achieve the

agency’s goals. But the Privacy Act is not a permission slip for Plaintiffs to superintend agency

operations. SSA has satisfied the requirements of paragraphs two and three of the Court’s Order

as to the access and employees identified in Defendants’ Notice of Compliance, and Defendants

respectfully ask that the Court allow those employees to get on with their important work.

                                        CONCLUSION

       Defendants respectfully request that the access sought in their Notice of Compliance be

granted.

Dated: April 1, 2025                         Respectfully submitted,

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                                                3
Case 1:25-cv-00596-ELH   Document 80     Filed 04/01/25       Page 4 of 5



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                               4
     Case 1:25-cv-00596-ELH           Document 80         Filed 04/01/25      Page 5 of 5



                               CERTIFICATE OF SERVICE

       I certify that on April 1, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                    /s/ Bradley P. Humphreys
                                                    BRADLEY P. HUMPHREYS
